            Exhibit B
               to
Memorandum in Support of Motion for
      Preliminary Injunction
       Cawthorn Challenge




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STATE OF NORTH CAROLINA                         BEFORE THE NORTH CAROLINA
                                                STATE BOARD OF ELECTIONS

                                                )
In re Challenge to                              )
the constitutional qualifications of            )      Notice of
Rep. Madison Cawthorn
_________________
                                                )
                                                )
                                                       Candidacy    cBmQEIVED
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                                      INTRODUCTION               STATE BOARD OF ELECTIONS
       1.       The Challengers in this action ("Challengers"), registered voters in the

13th Congressional District, have reasonable suspicion, pursuant to N.C. GEN. STAT.

§ 163-127, that Representative Madison Cawthorn, a candidate for North Carolina's

13th Congressional District, does not meet the federal constitutional requirements

for a Member of the U.S. House of Representatives and is therefore ineligible to be a

candidate for such office.

       2.      Under North Carolina law, when a challenger provides "reasonable

suspicion or belief' of facts establishing that a candidate "does not meet the

constitutional ... qualifications for the office," then "[t]he burden of proof shall be

upon the candidate" to "show by a preponderance of the evidence . .. that he or she

is qualified to be a candidate for the office." N.C. GEN. STAT.§§ 163-127.2(b), 163-

127.5(a).

       3.      Under Section Three of the Fourteenth Amendment to the U.S.

Constitution, known as the Disqualification Clause, "No Person shall be a .. .

Representative in Congress ... who, having previously taken an oath, as a member




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of Congress ... to support the Constitution of the United States, shall have engaged

in insurrection or rebellion against the same."

      4.      Persons who trigger this constitutional provision are disqualified from

congressional office, just as persons who fail to meet the age, citizenship, and

residency requirements of Article I, section 2 of the Constitution are disqualified

from congressional office. "The oath to support the Constitution is the test. The idea

being that one who had taken an oath to support the Constitution and violated it,

ought to be excluded from taking it again, until relieved by Congress." Worthy v.

Barrett, 63 N.C. 199, 204 (1869). Consequently, such persons "do0 not meet the

constitutional ... qualifications for the office" under N.C. GEN. STAT.§ 163-127.2(b).

       5.     An "insurrection" or "rebellion" under the Disqualification Clause

includes actions against the United States with the intent to overthrow the

 government of the United States or obstruct an essential constitutional function.

      6.      The events of January 6, 2021 amounted to an insurrection or a

rebellion under Section Three: a coordinated effort to prevent the Vice President of

the United States and the United States Congress from fulfilling their

constitutional roles by certifying President Biden's victory, and to illegally extend

then-President Trump's tenure in office.

      7.      In 1869, the North Carolina Supreme Court issued the leading

national precedent on the meaning of "engage" under Section Three. The Court held

that a candidate "engages" in a rebellion or insurrection for the purposes of the

Disqualification Clause by "[v]oluntarily aiding the rebellion, by personal service, or




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by contributions, other than charitable, of any thing that was useful or necessary."

Worthy v. Barrett, 63 N.C. 199, 203 (1869).

      8.      Planning or helping plan an insurrection or rebellion satisfies that

definition. So does planning a demonstration or march upon a government building

that the planner knows is substantially likely to (and does) result in insurrection or

rebellion, as it constitutes taking voluntary steps to contribute, "by personal

service," a "thing that was useful or necessary" to the insurrection or rebellion. And

knowing that insurrection or rebellion was likely makes that aid voluntary.

      9.      As described below, and as set forth in Challengers' affidavits, the

demonstration at the Ellipse and related march on the U.S. Capitol, and their

endorsement by prominent incumbent House Members (including Representative

Cawthorn), Senators, and the incumbent President, led directly, intentionally, and

foreseeably to the insurrectionists' violent assault on the Capitol. 1

       10.    Challengers have reasonable suspicion that Representative Cawthorn

was involved in efforts to intimidate Congress and the Vice President into rejecting

valid electoral votes and subvert the essential constitutional function of an orderly

and peaceful transition of power. Challengers have reasonable suspicion that

Cawthorn was involved in either planning the attack on January 6, or alternatively

the planning of the pre-attack demonstration and/or march on the Capitol with the




1This notice of candidacy challenge uses the term "insurrectionists" without
prejudice as to whether the events of January 6 may also constitute a "rebellion"
within the meaning of the Disqualification Clause.


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advance knowledge that it was substantially likely to lead to the attack, and

otherwise voluntarily aided the insurrection.

          11.   Representative Cawthorn promoted the demonstration ahead of time,

tweeting, "the future of this Republic hinges on the actions of a solitary few ... It's

time to fight," and he spoke at the demonstration. Furthermore, there are reports

that he met with planners of the January 6 demonstration, and possibly of the

    assault on the Capitol, beforehand. The stated goal of the organizers was to

pressure Vice President Pence into disregarding the electoral votes from several

    states and declaring Trump the winner of the 2020 election. The likelihood of

    violence during the implementation of this plan was plain to bystanders and

    probably more so to those intimately involved. Before the demonstration, violent

    groups announced they were going to attend it. Plans for violence-and specifically

    occupying the Capitol to prevent the certification vote or violently influence its

    outcome-were so prevalent that one reporter has remarked that "[a]nyone with a

    Twitter account and an hour of time to kill could have warned about the potential

    for violence on Jan. 6-and many did." 2

          12.   Representative Cawthorn has a history, leading up to and continuing

    after his swearing-in as a Member of the U.S. House of Representatives, of

    advocating for political violence. He has also made supportive statements about the


2 Quinta J urecic, Why Didn't the FBI Review Social Media Posts Announcing Plans
for the Capitol Riot?, LAWFARE (June 29, 2021), https://www.lawfareblog.com/why-
didnt-fbi-review-social-media-posts-announcing-plans-capitol-riot; Martha Mendoza
& Juliet Linderman, Officers maced, trampled: Docs expose depth of Jan. 6 chaos,
AP NEWS (Mar. 10, 2021), https://bit.ly/3F2Hi26.


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insurrectionists who stormed the Capitol, describing them as "political hostages"

and "political prisoners."

       13.   Collectively, Cawthorn's actions and the events of January 6 provide

reasonable suspicion that, under the Disqualification Clause, he is constitutionally

disqualified from running for congressional office.

       14.   Because Challengers have reasonable suspicion and belief of facts

establishing that Representative Cawthorn is disqualified from running for

congressional office, Representative Cawthorn has the burden of proving "by a

preponderance of the evidence of the evidence of the record as a whole that he    Dis
qualified to be a candidate for the office." N.C.   GEN.   STAT.§ 163-127.5(a).

       15.   Therefore, Representative Cawthorn must prove that he was not

involved in the insurrection of January 6, 2021.

       16.   In accordance with N.C. GEN. STAT.§ 163-127.4(a), Challengers intend

to depose Representative Cawthorn before the hearing, and request subpoenas for

witnesses and documents, including documents that Representative Cawthorn or

his staff may possess involving the planning of the January 6 events that could

shed light on his qualification for office under Section Three.

       17.   If Representative Cawthorn is unable to meet his burden, the panel

appointed by the North Carolina State Board of Elections ("State Board") must find

him disqualified to be a candidate for the office of U.S. Representative.




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                                FILING AND VENUE

      18.   Representative Cawthorn is running for the House of Representatives

in the 13th Congressional District and has accordingly filed his candidacy with the

State Board. N.C.   GEN.   STAT.§ 163-106.2(a). Due to the recent North Carolina

Supreme Court ruling staying the filing deadline for candidates, this challenge is

properly and timely filed with the State Board. Id. § 163-127 .2(a).

      19.   Because the 13th District encompasses multiple counties but not the

entire state, the State Board will appoint a panel of five county board members

from the counties within the district. N.C. GEN. STAT.§ 163-127.3(2).

                            STATUTORY BACKGROUND
      20.   Under North Carolina law, "[a]ny qualified voter registered in the

same district as the office for which the candidate has filed or petitioned" may file a

candidacy challenge by filing an affidavit that they have "reasonable suspicion or

belief of the facts stated ... that the candidate does not meet the constitutional or

statutory qualifications for office," and an appropriate panel will be appointed to

hear the challenge. N.C.    GEN.   STAT. §§ 163-127.1(3), 163-127.2(b), 163-127.3(2).

      21.   The burden for establishing "reasonable suspicion" is low. For example,

the most recent successful challenge was instituted in part by a challenger who

had no evidence whatsoever of the candidate's alleged disqualifications and, in fact,

admitted that she hoped to be proven wrong during the hearing. Transcript of

Record at 72-73, In re Bonapart, N.C. State Bd. of Elections (Jan. 21, 2020) (order).

In another challenge that was successful at the panel level, the challenger brought

a single piece of evidence that was rejected, but correctly pointed out that "as the


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ordinance says, I just have to bring suspicion. So that's what I've brought."

Transcript of Record at 55, In re Penland, N.C. State Bd. of Election (Apr. 4, 2018)

(order overturning panel decision on unrelated procedural grounds).

      22.   The panel "shall ... [a]llow for depositions prior to the hearings, if

requested by the challenger or candidate before the time of the hearing is

designated and announced," N.C. GEN. STAT.§ 163-127.4(a)(2), and "[i]ssue

subpoenas for witnesses or documents, or both, upon requests of the parties or

upon its own motion," id. § 163-127.4(a)(3). "The parties shall be allowed to issue

subpoenas for witnesses or documents, or both, including a subpoena of the

candidate." Id. § 163-127.4(c)(l). The panel itself may issue subpoenas if any two

members or the chair requests them. Id.

      23.   During the panel hearing, "[t]he burden of proof shall be upon the

candidate, who must show by a preponderance of the evidence of the record as a

whole that he or she is qualified to be a candidate for the office." Id. § 163-127.5(a).

      24.   The panel may hear evidence in the form of affidavits or witnesses;

witnesses must testify under oath. Id.§ 163-127.4(c)(l). The panel may receive

evidence "from any person with information concerning the subject of the

challenge," consistent with the state's rules of evidence. Id. at§ 163-127.4(c)(2).

                            FACTUAL BACKGROUND

      25.    Challengers have reasonable suspicion and belief in the following facts,

based on public reports and publicly available evidence.




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           26.   In the days leading up to his swearing-in on January 3, 2021,

    Representative Cawthorn repeatedly claimed that the 2020 election was "stolen"

    and marred by massive voter fraud. 3

           27.   These statements were made in support of a larger movement, often

    using the slogan "Stop the Steal," that advances and promotes the false narrative

    that Donald Trump won the 2020 election. Beginning in November 2020, various

    persons associated with the movement attempted to block the certification of

    President-elect Biden's victory with dozens of lawsuits. None succeeded, and all

    were found to be baseless. 4

           28.   After litigation failed, some within this larger movement accepted that

    they had exhausted their legal options for challenging the results of the

    presidential election. 5

           The Unconstitutional Scheme to Overturn the 2020 Election Results

           29.   Others, however, turned to extralegal plans. They formulated an

    unconstitutional scheme to subvert the constitutional process of counting the

    electoral votes in Congress, preventing President-elect Biden from being sworn in



3 Joel Burgess, As Eiden transition progresses, Cawthorn continues to raise money
off resistance, ASHEVILLE CITIZEN-TIMES (Nov. 25, 2020),
https://bit.lv/CawthorneFundraising: Madison Cawthorn (@CawthornforNC),
TWITTER (Dec. 31, 2020, 3:21 p.m.), https://bit.ly/CawthorneTweetDec31.
4 Jacob Shamisian & Sonam Sheth, Trump and his allies filed more than 40

lawsuits challenging the 2020 election results. All of them failed, BUSINESS INSIDER
(Feb. 22, 2021), https://bit.ly/3m2YfEf.
5 Colin Dwyer, After Supreme Court Defeat, Trump's Backers In Congress Are Quiet

On What Comes Next, NPR (Dec. 12, 2020), https://n.pr/32ybK7f; Rep. Bruce
Westerman (@RepWesterman), TwITTER (Dec. 11, 2020, 8:49 PM),
https://bit.ly/3eFkZ7S.

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    as President. Leaders of this scheme-including then-President Trump, his Chief

    of Staff Mark Meadows, certain Members of Congress, and others outside

    government-focused on January 6, the day that Congress counts the presidential

    electors' votes, as an opportunity to prevent Congress from certifying President-

    elect Biden's victory. 6

           30.   Under the provisions of the Twelfth Amendment to the U.S.

    Constitution and the Electoral Count Act, 3 U.S.C. §§ 15 et seq., the votes of

    presidential electors are officially counted as follows. At 1:00 p.m. on January 6 of

    the year following a presidential election, the U.S. Senate and the U.S. House of

    Representatives meet jointly in the House Chamber, with the Vice President of the

    United States (in his capacity as President of the Senate) presiding. Beginning

    with Alabama, and proceeding alphabetically, the Vice President opens each state's

    certificate of the votes of its electors, and calls for objections, if any. Any objection

    must be filed by at least one Senator and at least one Member of the House. These

    objections are then voted upon separately by the House and Senate. 7

           31.   The Electoral Count Act provides that, if a state has submitted only

    one return of electoral votes, and if the electoral votes were "regularly given by

    electors whose appointment has been lawfully certified," then Congress cannot

    reject those electoral votes. 8




6 What Happened on Jan. 6, WASH. POST (Oct. 31, 2021), =
                                                       h -=
                                                         tt=.:.:....:....:.:.=.,;="-"'-"==-===,,.....
7 3 U.S.C. § 15; U.S. CONST. amend. XII.
s 3 U.S.C. § 15.

                                         9
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          32.   The Electoral Count Act provides two scenarios in which, theoretically,

Congress can reject electoral votes. First, "the two Houses concurrently" may reject

one or more electoral votes from a state when both Houses "agree that such vote or

votes have not been so regularly given by electors whose appointment has been so

certified." Second, if a state submits multiple conflicting returns of its electoral

votes, the Act contains procedures for determining which return prevails. 9

          33.   After the 2020 election, no lawful procedure under the Electoral Count

Act could prevent the counting of electoral votes from the states where President-

elect Biden had won the election. None of those states had submitted multiple

competing electoral tallies to Congress. And it was generally understood that there

were insufficient votes in the U.S. House of Representatives to reject as not

"regularly given" the electoral votes from any state, let alone to reject enough

electoral votes to change the outcome to anything other than a Biden victory .10

          34.   Since no lawful procedure under the Electoral Count Act could prevent

the counting of electoral votes from the states where President-elect Biden had won

the election, leaders of the scheme to subvert the counting of the votes developed

    stratagems by which Vice President Pence would refuse to recognize the votes of

    electors from certain states that Trump had lost, thus leading to a Trump "victory"




9Id.
10Joseph Choi, Pelosi sets up call on election challenge: 'No situation matches
Trump presidency,' THE HILL (Jan. 3, 2021), https://bit.lv/32F5CtP.

                                       10
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 in Congress. 11 However, these plans relied on cooperation from sympathetic

 members of Congress and, crucially, Vice President Pence. The plans centered on

 Pence abusing the Vice President's ceremonial duty to "open all the certificates" of

 state electoral votes as a pretext to unilaterally reject votes.1 2

        35.   Key leaders and participants in the larger scheme developed plans to

 pressure or intimidate Congress and Pence into cooperating-and, if that failed, to

 obstruct the electoral count certification. 13

        36.   A key participant in this scheme was Mark Meadows, then-President

 Trump's Chief of Staff. Before becoming Chief of Staff, Meadows had served as the

 U.S. Representative for North Carolina's 11th Congressional District (the seat

 Cawthorn now occupies) from 2013 to 2020. During this time, Cawthorn forged or

 strengthened connections with Meadows. Cawthorn was nominated by Meadows to




11 What Happened on Jan. 6, WASH. POST (Oct. 31, 2021), https://wapo.st/3eSdf2y:
READ: Trump lawyer's full memo on plan for Pence to overturn the election, CNN
(Sept. 21, 2021), https://cnn.it/3gldg4p.
12 U.S. CONST. amend. XII.
13 See, e.g., Trump pressures Pence to throw out election results - even though he

can't, POLITICO (Jan. 5, 2021), https://politi.co/3961iTx; READ: Trump lawyer's full
memo on plan for Pence to overturn the election, CNN (Sept. 21, 2001),
https://cnn.it/3gldg4p; Ahead of Jan. 6, Willard hotel in downtown D.C. was a
Trump team 'command center' for effort to deny Biden the presidency, WASH. POST
(Oct. 23, 2021), https://wapo.st/3pOUPpL; ~ roadmap for a coup': inside Trump's
plot to steal the presidency, THE GUARDIAN (Oct. 30, 2021), https://bit.ly/31g0MjJ;
United States v. Greene, No. 21-CR-52, Statement of Offense, ,r,r 29-31 (D.D.C. Dec.
22, 2021), https://www.justice. gov/usao-dc/press-release/file/1458266/download; see
also infra note 22.

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the Naval Academy in 2014 14 and worked as a staffer in Meadows' North Carolina

 office in 2015 and 2016. 15

        37.   Meadows was intimately involved in multiple aspects of the effort to

overturn the presidential election results, including efforts to pressure state

 officials to overturn election results in states Eiden had won; promoting plans for

 Pence to unilaterally reject electoral votes; and communicating with organizers of

 January 6 events in the days leading up to January 6 and as the attack unfolded. 16

        38.   To further their scheme to overturn the presidential election results, in

 December 2020 and January 2021, organizers planned a "Save America"

 demonstration in Washington, D.C. on January 6 to coincide with, and seek to

 block, the certification of electoral votes. At this demonstration, they planned to

push false claims of massive voter fraud and to pressure then-Vice President Pence

 to refuse to count slates of electors from states with close contests. 17

        39.   The organizers of the demonstration were in close contact with several

 Members of Congress or their staff during this time regarding the details of the




14 Meadows congratulates Western North Carolina academy nominees, ASHEVILLE
CITIZEN-TIMES (Dec. 22, 2013), https://bit.ly/3eOPBnL.
15 Michael Kranish, The making of Madison Cawthorn: How falsehoods helped

propel the career of a new pro-Trump star of the far right, WASH. POST (Feb. 27,
2021), htt s://wa o.st/3sUewvk.
16 H.R. REP. No. 117-216, at 6-12 (2021),
https://www.congress. gov/117/crpt/hrpt216/CRPT-l17hrpt216.pdf.
17 tt,'hat Happened on Jan. 6, WASH. POST (Oct. 31, 2021), https://wapo.st/3eSdf2y;

see also supra note 13.

                                     12
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 demonstration, including Representative Cawthorn or his staff. 18 Those same

organizers were also in touch with White House staff about the demonstration,

including Meadows.19

        40.    Organizers' plans for January 6 also included a march on the U.S.

 Capitol while Congress was counting electoral votes. 20

        41.    On December 19, 2020, then-President Trump endorsed the

 demonstration, claiming it would be "wild." 21 This was widely understood to be a

 coded call for violence by Trump supporters. On social media, they openly called for

weapons to be carried into the District of Columbia, for law enforcement to be

 murdered if they interfered, and for supporters to storm the Capitol to prevent the

 certification of President-elect Biden' s victory. 22

        42.    On December 21, 2020, Representative-elect Cawthorn encouraged

 supporters to "call your congressman and feel free-you can lightly threaten them




18 Hunter Walker, Jan. 6 Protest Organizers Say They Participated in 'Dozens' of
Planning Meetings With Members of Congress and lVhite House Staff, ROLLING
STONE (Oct. 24, 2021), https://bit.lv/3HB2Nc4.
is Id.
20 lVhat Happened on Jan. 6, WASH. POST (Oct. 31, 2021), =h=t t=""-'--'-a....=.l.='-=--"-==-= =---
21 Id.
22 Brandy Zadrozny & Ben Collins, Violent threats ripple through far-right internet
forums ahead of protest, NBC NEWS (Jan. 5, 2021),
https://www.nbcnews.com/tech/internet/vio.lent-threats-ripple-through-far-right-
internet-forums-ahead-protest-n1252923; see also Dan Barry & Sheera Frenkel, 'Be
There. Will Be Wild!:· Trump All but Circled the Date, N.Y. TIMES (Jan. 6, 2021),
https://www.nytimes.com/2021/01/06/us/politics/capitol-mob-trump-supporters.html;
Ryan Goodman & Justin Hendrix, The Absence of 'The Donald," JUST SECURITY
(Dec. 6, 2021), https://bit.ly/3sRenLY.

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 ... Say: 'If you don't support election integrity, I'm coming after you. Madison

 Cawthorn's coming after you. Everybody's coming after you."' 23

       43.   On December 31, 2020, Cawthorn announced he would oppose the

certification of Biden's victory on the basis that the 2020 election was marred by

fraud and that state laws were not "followed"; he planned to object to results from

 Pennsylvania, Georgia, Michigan, Wisconsin, Arizona, and Nevada. 24

       44.   On January 3, 2021, pursuant to Article VI of the U.S. Constitution,

 Cawthorn swore an oath of office to uphold and protect the Constitution.

       45.   On that same day, it was reported that Trump and his associates in

 the movement to overturn the 2020 election had begun to use extralegal and

 unlawful tactics, as Trump and Meadows attempted to intimidate Georgia

 Secretary of State Raffensperger into fabricating votes and declaring Trump the

 winner of Georgia's presidential election. 25

       46.   On January 4, 2021, Representative Cawthorn promoted the January

 6 demonstration, tweeting, "January 6th is fast approaching, the future of this

 Republic hinges on the actions of a solitary few. Get ready, the fate of a nation




23 Turning Point, Live! SAS 2020 Day 3! Madison Cawthorn, Allie Stuckey, and
More!, FACEBOOK (Dec. 21, 2020) (at 3:44:00),
https://bit.ly/DecemberTurningPointVideo.
24 Madison Cawthorn (@CawthornforNC), TWITTER (Dec. 31, 2020, 3:21 p.m.),

https://bit.ly/CawthorneTweetDec31.
25 Michael D. Shear & Stephanie Saul, Trump, in Taped Call, Pressured Georgia

Official to 'Find' Votes to Overturn Election, N.Y. TIMES (Jan. 3, 2021),
https://nyti.ms/3mUVQef.

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rests on our shoulders, yours and mine. Let's show Washington that our backbones

 are made of steel and titanium. It's time to fight." 26

        47.   On January 5, 2021, Pence informed Trump that he did not have the

 authority to unilaterally reject electoral votes and consequently would not do so.

 This was widely and publicly reported that same day. 27

                           The Events of January 6, 2021

        48.   On the morning of January 6, Representative Cawthorn spoke at the

 demonstration, remarking that "this crowd has some fight" and "[t]he Democrats,

with all the fraud they have done this election, the Republicans, hiding and not

 fighting, they are trying to silence your voice." 28

        49.   Other speakers included Trump's lawyer, Rudy Giuliani, who called for

"trial by combat," 29 and Rep. Mo Brooks of Alabama, who urged the crowd to "start

 taking down names and kicking ass" and be prepared to sacrifice their "blood" and

 "lives" and "do what it takes to fight for America" by "carry[ing] the message to

 Capitol Hill," since "the fight begins today." 30


26 Madison Cawthorn (@CawthornforNC), TWITTER (Jan. 4, 2021, 5:57 p.m.),
https://bit.ly/CawthornJan4Tweet.
27 Kaitlan Collins & Jim Acosta, Pence informed Trump that he can't block Biden's

win, CNN (Jan. 5, 2021), https://cnn.it/3FH4gx9.
28 Madison Cawthorn (@CawthornforNC), TWITTER (Jan. 6, 2021, 11:02 a.m.),

https://bit.ly/CawthronJan6Tweetl; Rally on Electoral College Vote Certification, C-
SPAN (Jan. 6, 2021) (2:10 mark), https://www.c-span.org/video/?507744-1/rally-
electoral-colle ge-vote-certification; Charles Duncan, N.C. Rep. Cawthorn Sticks by
D.C. Rally Speech, Loses Backing of Key Supporter, SPECTRUM NEWS 1 (Jan. 12,
2021), https://bit.ly/CawthornJ an6SpeechArticle.
29 Wash. Post, Trump, Republicans incite crowd before mob storms Capitol,

YouTUBE (Jan. 6, 2021), https://youtu.be/mh3cbd7niTQ.
30 The Hill, Mo Brooks gives FIERY speech against anti-Trump Republicans,

socialists, YouTUBE (Jan. 6, 2021), https://youtu.be/ZKHwV6sdrMk.

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       50.   Around 12:00 pm, then-President Trump began speaking about how

"we will stop the steal." 31 Seven minutes into his speech, the crowd was chanting

"Fight for Trump!". About 16 minutes into his speech, he said, "[a]fter this, we're

going to walk down and I'll be there with you. We're going to walk down. We're

going to walk down any one you want, but I think right here. We're going walk

down to the Capitol, and we're going to cheer on our brave senators, and

congressmen and women. We're probably not going to be cheering so much for some

of them because you'll never take back our country with weakness. You have to

 show strength, and you have to be strong." 32 At about this point, 10,000-15,000

 demonstrators began the roughly 30-minute march to the Capitol, where they

joined a crowd of 300 members of the violent extremist group "Proud Boys." 33

       51.   Around 1:00 p.m.-just as Congress had begun the process of jointly

counting the electoral votes-then-President Trump ordered the remaining crowd

 to "walk down Pennsylvania Avenue ... we are going to the Capitol." 34 At around

 that time, Trump supporters attacked police protecting the barricades surrounding

 the Capitol. 35 As Trump ended his speech, a large portion of the crowd began their




31 Donald Trump Speech "Save America" Rally Transcript January 6, REV (Jan. 6,
2021), https://bit.ly/3GheZid; Brian Naylor, Read Trump's Jan. 6 Speech, A Key Part
Of Impeachment Trial, NPR (Feb. 10, 2021), https://n. pr/3G 1K2ON.
32 Id.
33 Martha Mendoza & Juliet Linderman, Officers maced, trampled: Docs expose
depth of Jan. 6 chaos, AP NEWS (Mar. 10, 2021), https://bit.ly/3F2Hi26.
34 What Happened on Jan. 6, WASH. POST (Oct. 31, 2021), https://wapo.st/3eSdf2y.
35 Id.



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 30-minute march to the Capitol. 36 By 1:30 p.m., law enforcement retreated as

insurrectionists scaled the walls of the Capitol. Many were armed with weapons,

pepper spray, and tasers. Some wore full body armor; others carried homemade

 shields. Many used flagpoles, signposts, or other weapons to attack police officers

 defending the Capitol. 37

        52.   Because certain Members of Congress (including Cawthorn) had filed

 objections to Arizona's slate of electors, by this time the joint counting session had

been suspended and the House and Senate were debating the objections

 separately. 38 At 1:31 p.m. Representative Cawthorn tweeted, "I'm fighting a battle

 for our Constitution on the house floor with other patriots. The battle is on the

 house floor, not in the streets of D.C." 39

        53.   By 2:00 p.m., the Capitol had been breached by insurrectionists,

 smashing through first-floor windows. Over the next two hours, hundreds of

 insurrectionists stormed the Capitol, attacking police with weapons and

 pyrotechnics. One police officer was crushed against a door, screaming in agony as

 the crowd chanted "Heave, ho!" 40 An attacker ripped off the officer's gas mask, beat




36 Kat Lonsdorft et al., A timeline of how the Jan. 6 attack unfolded- including
who said what and when, NPR (Jan. 5, 2022), https://n.pr/3ztHpmo.
37 What Happened on Jan. 6, WASH. POST (Oct. 31, 2021), https://wapo.st/3eSdf2y.

3s Id.
39 Madison Cawthorn (@CawthornforNC), TWITTER (Jan. 6, 2021, 1:31 p.m.),

https://bit.ly/CawthornJ an6Tweet.
°
4 Kelsie Smith & Travis Caldwell, Disturbing video shows officer crushed against

door by mob storming the Capitol, CNN (Jan. 9, 2021), https://cnn.it/3eAmdSc.

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 his head against the door, took his baton, and hit his head with it. 41 Another officer

 was pulled into a crowd, beaten and repeatedly Tased by insurrectionists. 42

       54.   The insurrectionists demanded the arrest or murder of various other

 elected officials who refused to participate in their attempted coup. 43 They chanted

 "hang Mike Pence" and threatened Speaker Pelosi. 44 They taunted a Black police

 officer with racial slurs for pointing out that overturning the election would deprive

 him of his vote. 45 Confederate flags and symbols of white supremacist movements

 were widespread. 46

       55.   At 2:13 p.m., Vice President Pence was removed by the Secret Service;

 the House adjourned at 2:20 p.m. 47 The insurrectionists had successfully

 obstructed Congress from certifying the votes, temporarily blocking the peaceful

 transition of power from one presidential administration to the next.

       56.   At 2:44 p.m., insurrectionists attempted to force their way into the

 Speaker's Lobby (adjacent to the House Chamber) as lightly armed security guards




41 Clare Hymes & Cassidy McDonald, Capitol riot suspect accused of assaulting cop
and burying officer's badge in his backyard, CBS NEWS (Mar. 13, 2021),
https://cbsn. ws/3eFAaxS.
42 Michael Kaplan & Cassidy McDonald, At least 17 police officers remain out of

work with injuries from the Capitol attack, CBS NEWS (June 4, 2021),
https://cbsn. ws/3eyXZr8.
43 What Happened on Jan. 6, WASH. POST (Oct. 31, 2021), https://wapo.st/3eSdf2y.

44 H.R. REP. No. 117-2, at 16, 12-13 (2021),
https://www. govinfo. gov/app/details/CRPT-117hrpt2/CRPT-l17hrpt2.
45 What Happened on Jan. 6, WASH. POST (Oct. 31, 2021), https://wapo.st/3eSdf2y.
46 Id.; STAFF OF S. COMM. ON RULES & ADMIN., 117TH CONG., A REVIEW OF THE

SECURITY, PLANNING, AND RESPONSE FAILURES ON JANUARY 6, at 28 (June 1, 2021),
https://www.rules.senate. gov/download/hsgac-rules-jan-6-report.
47 What Happened on Jan. 6, WASH. POST (Oct. 31, 2021), https://wapo.st/3eSdf2y.



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tried to hold the door long enough to evacuate Members of Congress and others. 48

 Senate staffers took the electoral college certificates with them when they were

evacuated, ensuring they did not fall into the hands of the insurrectionists. 49

       57.   Shortly after, the House Chamber and Senate Chamber fell.

Insurrectionists, some carrying zip ties and tactical equipment, overtook the

 defenses of the United States government and achieved, through force, effective

control over the seat of the United States Congress. 50 After 3:00 p.m., DHS, ATF,

 and FBI agents, and police from Virginia and Maryland, joined Capitol Police to

 help regain control of the Capitol. 51 Around 4:30 p.m., insurrectionists attacked

 officers guarding the Capitol, beating them with improvised weapons, spraying

 them with mace, and beating one so badly he required staples. 52 Around 5:20 p.m.,

 the D.C. National Guard began arriving. 53 By 6:00 p.m., the insurrectionists had

 been removed from the Capitol, though some committed sporadic acts of violence

 through the night. 54

       58.   Vice President Pence was not able to reconvene Congress until 8:06

 p.m., nearly six hours after the process had been obstructed. 55 Around 9 p.m.,




48 Id.
49 Id.
50 Id.
51 Id.
52 Id.
53 STAFF OF S. COMM. ON RULES & ADMIN., 117TH CONG., A REVIEW OF THE SECURITY,

PLANNING, AND RESPONSE FAILURES ON JANUARY 6, at 26 (June 1, 2021),
https://www.rules.senate. gov/download/hsgac-rules-jan-6-report.
54 What Happened on Jan. 6, WASH. POST (Oct. 31, 2021), https://wapo.st/3eSdf2y.
55 Id.



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Trump's counsel John Eastman argued to Pence's counsel via email that Pence

should refuse to certify Biden's victory by not counting certain states. 56 Pence's

counsel ignored it. Congress was required under the Electoral Count Act to debate

the objections filed by Senators and Members of Congress (including Cawthorn) to

electoral results from Arizona and Pennsylvania. Despite six Senators and 121

Representatives (including Cawthorn) voting to reject Arizona's electoral results, 57

and seven Senators and 138 Representatives (including Cawthorn) voting to reject

Pennsylvania's electoral results, 58 Biden's victory was ultimately certified at 3:14

a.m., January 7.59

       59.   In total, five people died 60 and over 150 police officers suffered injuries,

including broken bones, lacerations, and chemical burns. 61 Four Capitol Police

officers on-duty during January 6 have since died by suicide. 62




56 Id.
57 167 Cong. Rec. H77 (daily ed. Jan. 6, 2021), http://bit.ly/Jan6CongRec.
58 Id. at H98.
59 What Happened on Jan. 6, WASH. POST (Oct. 31, 2021), https://wapo.st/3eSdf2y :
167 Cong. Rec. H114-15 (daily ed. Jan. 6, 2021), http://bit.ly/Jan6CongRec.
60 Jack Healy, These Are the 5 People Who Died in the Capitol Riot, N.Y. TIMES (Jan.
11, 2021), https://nyti.ms/3pTyN5g.
61 Michael Kaplan & Cassidy McDonald, At least 17 police officers remain out of
work with injuries from the Capitol attack, CBS NEWS (June 4, 2021),
https://cbsn.ws/3eyXZr8; Michael S. Schmidt & Luke Broadwater, Officers' Injuries,
Including Concussions, Show Scope of Violence at Capitol Riot, N.Y. TIMES (Feb. 11,
2021), https://nyti.ms/3eN31k2 ..
62 Luke Broadwater & Shaila Dewan, Congress Honors Officers Who Responded to
Jan. 6 Riot, N.Y. TIMES (Aug. 3, 2021), htt s://n ti.ms/3EURwl

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                Cawthorn's Statements Since the Insurrection

       60.   During the assault on the Capitol, Representative Cawthorn called a

radio show hosted by Charlie Kirk, a prominent public figure, and deflected blame

onto Democratic and "antifa" infiltrators for the violence. 63

       61.   In a January 7, 2021 interview, Representative Cawthorn admitted

that the people who stormed the Capitol were likely people who would have voted

for him. But he claimed that he had nothing to do with the attack, and that he was

not frightened because he was armed.6 4

       62.   On February 5, 2021, he said he did not regret speaking at the

demonstration. 65

       63.   On August 29, 2021, Cawthorn said he sympathized with

insurrectionists as "political hostages" and "political prisoners," and suggested

that, if he knew where they were incarcerated, he would like to "bust them out." 66

When asked when supporters would be "called back to Washington," he replied,

"[w]e are actively working on that one." 67 He also advocated for additional political

violence, saying that "[t]he second amendment was not written so that we can go

hunting or shoot sporting clays. The second amendment was written so that we can



63 Chaos at the Capitol, THE CHARLIE KIRK SHOW (Jan. 6, 2021),
https://bit.ly/KirkPodcast.
64 Cory Vaillancourt, Cawthorn: mob that breached capitol 'disgusting and pathetic',
SMOKY MOUNTAIN NEWS (Jan. 7, 2021), https://bit.ly/CawthornJan7Interview.
65 Carlos Watson, Does Rep. Madison Cawthorn Regret His Speech Before the U.S.
Capitol Riots? YouTUBE (Feb. 5, 2021), https://bit.ly/CawthornFeb5Interview.
66 Madison Cawthorn Macon County Republican Party Appearance 8-29-2021,
YouTUBE (Aug. 31, 2021), https://youtu.be/2RtsGikgAqA.
67 Id.


                                          21
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 fight against tyranny"; "if our election systems continue to be rigged, and continue

 to be stolen, then it's going to lead to one place, and it's bloodshed"; "[w]hen

tyranny becomes law, rebellion becomes your duty," and that, with respect to his

 political opponents, "we all need to be storing up some ammunition." 68

           64.   On or about August 30, 2021, the U.S. House of Representatives'

 bipartisan Select Committee to Investigate the January 6th Attack on the U.S.

 Capitol instructed 35 private-sector entities, including telecommunications, email,

 and social media companies, to preserve records of 11 Members of Congress,

 including Representative Cawthorn. 69

           65.   On November 19, 2021, Representative Cawthorn told his supporters

 to be "armed, dangerous, and moral."70

           66.   On December 7, 2021, Representative Cawthorn filed for candidacy for

 the House of Representatives in the 13th District for North Carolina.

           67.   Representative Cawthorn's occasional criticisms of the Capitol

 attackers since January 6, 2021 71 do not substantially alter his overall record of

 support for the insurrection; rather, they suggest a post hoc effort to distance




68   Jd.
69 Rebecca Shabad et al., Jan. 6 committee to ask phone companies for Republican
lawmakers' records, NBC NEWS (Aug. 30, 2021), https://nbcnews.to/3pHntJz.
70 The Lincoln Project (@ProjectLincoln), TWITTER (Nov. 19, 2021, 1:36 p.m.),
https://bit.lv/CawthornNov19.
71 For example, he once described the attackers as "weak-minded men and women

who are unable to check their worst impulses and had very little self-control."
Carlos Watson, Does Rep. Madison Cawthorn Regret His Speech Before the U.S.
Capitol Riots? YouTUBE (Feb. 5, 2021), https://youtu.be/czJXV7Tz8u4.


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himself from his past support for and, as alleged herein, engagement in the

insurrection, even as he continues to this day to profess support for its goals.

                           INELIGIBILITY ANALYSIS

       The State Board of Elections and its appointed panel must hear
         candidate challenges based on Section Three, such hearings are
           consistent with precedent, and North Carolina has a duty to
                prevent unqualified congressional candidates from
                             appearing on the ballot.

      68.   In general, states can apply ballot eligibility procedures to candidates

for federal office who do not meet the criteria established by the U.S. Constitution.

As then-Judge (now U.S. Supreme Court Justice) Gorsuch held, a state's

"legitimate interest in protecting the integrity and practical functioning of the

political process permits it to exclude from the ballot candidates who are

constitutionally prohibited from assuming office." Hassan v. Colorado, 495 F. App'x

947,948 (10th Cir. 2012); accord Peace & Freedom Party v. Bowen, 750 F.3d 1061

(9th Cir. 2014); see also Burdick v. Takushi, 504 U.S. 428, 441 (1992) ("the right to

vote is the right to participate in an electoral process that is necessarily structured

to maintain the integrity of the democratic system").

      69.   The candidate challenge process in North Carolina is fully competent

to adjudicate questions of ineligibility under the Disqualification Clause of the

Fourteenth Amendment. First, a process for disqualifying candidates ineligible

under Section Three was an express condition of the federal statute that




                                   23
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readmitted North Carolina to the Union after the Civil War. 72 Second, as discussed

above, the challenge process provides ample process to the challenged candidate,

and allows the candidate to present evidence, call witnesses, testify, and appeal

any adverse decisions to the North Carolina Court of Appeals and beyond. 73

       70.   North Carolina law specifically authorizes challenges to candidacy on

the grounds that "the candidate does not meet the constitutional ... qualifications

for the office." N.C. GEN. STAT.§ 163-127.2(b). For example, the general counsel for

the State Board of Elections has confirmed that a candidate who is constitutionally

ineligible for the presidency "will not qualify as a Presidential Candidate in the

 State of North Carolina." Letter from Don Wright, General Counsel, N.C. State Bd.

of Elections, to Abdul K. Hassan, July 22, 2011.

       71.   North Carolina has a history of using state law processes to exclude

candidates who are disqualified by Section Three of the Fourteenth Amendment.

 See Worthy, 63 N.C. at 204-05; In re Tate, 63 N.C. 308 (1869); see also 1868 N.C.

 Pub. L. ch. 1, § 8 ("no person prohibited from holding office by section 3 of the

Amendment to the Constitution of the United States, known as Article XIV, shall

 qualify under this act or hold office in this State"). Furthermore, these processes


72 40 Cong. Ch. 70, 15 Stat. 73 (1868) ("no person prohibited from holding office
under the United States ... by section three of the proposed amendment to the
Constitution of the United States, known as article fourteen, shall be deemed
eligible to any office in [any] of said States, unless relieved from disability as
provided by said amendment").
73The North Carolina procedures also satisfy Chief Justice Chase's dictum that
Section Three requires "proceedings, evidence, decisions, and enforcements of
decisions, more or less formal" to determine who is and is not covered. In re Griffin,
11 F. Cas. 7, 26-27 (C.C.D. Va. 1869).


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have long included initial determinations of qualifications by non-judicial state

officials. See Worthy, 63 N.C. at 200.

       72.   Once a state has determined a candidate is disqualified under Section

Three, it has a duty to ensure that the unqualified candidate is not listed on the

ballot. Just as North Carolina should exclude an underage candidate from the

primary for a congressional race, it should also exclude one who engaged in an

insurrection against the United States.

       73.   The fact that the U.S. House of Representatives itself has authority to

exclude Cawthorn, if re-elected, does not deprive the sovereign state of North

 Carolina of the power and obligation to protect the integrity of its own ballots. 74

       January 6 was an insurrection or rebellion within the meaning of
                   Section Three of the Fourteenth Amendment.

       74.   The January 6 attack constituted an "insurrection" or "rebellion" under

 Section Three of the Fourteenth Amendment.

       75.   First, the insurrectionists defied the authority of the United States.

 See In re Charge to Grand Jury, 62 F. 828, 830 (N.D. Ill. 1894) (defining

insurrection as an uprising "so formidable as for the time being to defy the

 authority of the United States"); Insurrection, WORCESTER'S DICTIONARY (1835)

 (leading pre-1868 dictionary defining "insurrection" to mean "[a] seditious rising




74Resolving this issue now, at the primary stage, would ensure that Republican
primary voters may choose a constitutionally eligible candidate in the normal
election schedule, and would prevent the possible need for a special election.


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 against government"); 75 see also Allegheny Cty. v. Gibson, 90 Pa. 397, 417 (1879)

 (applying a similar definition); 4 WM. BLACKSTONE, COMMENTARIES ON THE LAWS OF

 ENGLAND, *81-82 (distinguishing riots from violence against the state). During the

 attack, insurrectionists were armed, called for the death of elected officials

 (including the Vice President, the Speaker of the House of Representatives, and

 other prominent Members of Congress), attacked law enforcement, and forced their

way into the building. Five people died and 150 law enforcement officers were

 injured. It took the combined efforts of the Capitol Police, federal agents, state

 police, and the National Guard to clear the insurrectionists from the Capitol. 76

       76.   Second, the insurrectionists' goal was to overthrow the government or

 obstruct its core functions. See Pan Am. World Airways, Inc. v. Aetna Cas. & Sur.

 Co., 505 F.2d 989, 1005 (2d Cir. 1974) (insurrection requires "an intent to

 overthrow a lawfully constituted regime"); Home Ins. Co. of N. Y. v. Davila, 212




75Most legal authority defining "insurrection" pertains to insurrections against any
government. Under Section Three, the violent uprising must be against the United
States, rather than state or local government. See U.S. CONST. amend. XIV,§ 3
(applying to a person who previously swore "to support the Constitution of the
United States" but engaged in insurrection "against the same").
76The original public understanding of "insurrection" may not have required actual
violence. See In re Charge to Grand Jury, 62 F. 828, 830 (N.D. Ill. 1894)
(insurrection does not require "bloodshed," only that the uprising be "so formidable
as for the time being to defy the authority of the United States"). Twentieth-century
cases typically define "insurrection" as requiring violence. See Pan Am. World
Airways, Inc. v. Aetna Cas. & Sur. Co., 505 F.2d 989, 1017 (2d Cir. 1974) (defining
insurrection to require "a violent uprising"); Home Ins. Co. of N. Y. v. Davila, 212
F.2d 731, 736 (1st Cir. 1954) (similar). As set forth above, the facts of January 6
easily satisfy any such requirement.




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F.2d 731, 736 (1st Cir. 1954) (insurrectionary action must be "specifically intended

to overthrow the constituted government and to take possession of the inherent

powers thereof'). Even before the attack, the entire point of the demonstration (at

which Cawthorn spoke) was to intimidate Congress and Vice President Pence-in

particular, to intimidate Pence into violating the Twelfth Amendment and the

Electoral Count Act by ignoring the legal electoral votes for Biden. And the

insurrectionists mounted their violent assault on the U.S. Capitol and the

government officials within for the purpose of preventing the Vice President of the

United States and the United States Congress from fulfilling their constitutional

roles in ensuring the peaceful transition of power. As they attacked, the

insurrectionists insisted that elected officials anoint their preferred candidate the

winner--or be murdered.

      77.   This was an attack on the United States. The importance of counting

the electoral votes in our constitutional system cannot be overstated. It formalizes

a deeper, bedrock norm in our democracy: the peaceful transition of power. The

Electoral Count Act, as well as the Article II and the Twelfth Amendment, lay out

the procedures for counting votes; together with the Twentieth Amendment, they

ensure that transition is orderly and non-violent. They are essential constitutional

functions of the United States government. An attempt to disrupt those

procedures, particularly through violence, is an attack on our country itself.

      78.   This was no mere riot; it was an attempt to disrupt an essential

constitutional function and illegally prolong Trump's tenure in office. And while an




                                   27
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attack on public authority need not be likely to succeed in order to constitute an

insurrection, see Davila, 212 F.2d at 736 ("An insurrection aimed to accomplish the

overthrow of the constituted government is no less an insurrection because the

chances of success are forlorn."), the January 6 insurrectionists' violent seizure of

the House and Senate Chambers and key congressional offices did, in fact, obstruct

 and delay this essential constitutional procedure. They very nearly succeeded in

 achieving their aim of overturning the results of the 2020 presidential election.

 U.S. Representative Peter Meijer of Michigan, a member of Cawthorn's party who

joined the House on the same day as him, has described the attack as "a violent

 attempt to interfere with the proceedings of Congress, and specifically the

 certification of the Electoral College results." 77 General Mark Milley, Chairman of

 the Joint Chiefs of Staff, "believed January 6 was a planned, coordinated,

 synchronized attack on the very heart of American democracy, designed to

 overthrow the government"; he referred to January 6 as a "coup attempt." 78 If this

 violent attack on the political system of the United States in the heart of the

 nation's capital is not an insurrection, then nothing is.

       79.   This analysis of January 6 is consistent with the understanding of

 Congress, the U.S. Department of Justice, and federal courts.




77 Death threats, primary challenge followed Rep. Meijer's vote to impeach Trump
after Jan. 6, PBS (Jan. 4, 2022), https://to.pbs.org/3FXcKAi.
78 BOB WOODWARD & ROBERT COSTA, PERIL, xviii (2021).




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       80.    On the evening of January 6, after Congress was finally able to

 reconvene, Senator Mitch McConnell of Kentucky, the Senate Majority Leader,

 described the assault as a "failed insurrection." 79

       81.    In court filings, the U.S. Department of Justice has characterized the

 attack on the Capitol as "an insurrection attempting to violently overthrow the

 United States Government." 80 Judge Carl Nichols of the U.S. District Court for the

 District of Columbia has described the attack as an "uprising" that "target[ed] a

 proceeding prescribed by the Constitution and established to ensure a peaceful

 transition ofpower." 81 Bipartisan majorities of the House and Senate voted for

 articles of impeachment describing the attack as an "insurrection." 82 And in the

 impeachment trial, President Trump's own defense lawyer stated that "the

 question before us is not whether there was a violent insurrection of [sic] the

 Capitol. On that point, everyone agrees." 83 The Senate voted by unanimous consent

 to award a Congressional Gold Medal for Capitol Police officer Eugene Goodman

via a bill that categorized the January 6 attackers as "insurrectionists." 84 Congress




79 Nicholas Fandos et al., Resuming electoral counting, McConnell condemns the
mob assault on the Capitol as a 'failed insurrection', N.Y. TIMES (Jan. 6, 2021),
https ://www .nytimes.com/2021/01/06/us/politics/insurrection.html.
80 United States v. Chansley, No. 21-cr-00003 (D. Ariz. filed Jan. 14, 2021), ECF No.

5, https://bit.ly/3FJ1LdM.
81 United States v. Miller, No. 21-cr-00119 (D.D.C. Dec. 21, 2021), ECF No. 67,

https://bit.ly/318NBmX.
82 167 Cong. Rec. H191 (daily ed. Jan. 13, 2021); 167 Cong. Rec. S733 (daily ed. Feb.

13, 2021).
83 167 Cong. Rec. S729 (daily ed. Feb. 13, 2021), http://bit.ly/EveryoneAgrees.
84 167 Cong. Rec. S694-95 (daily ed. Feb. 12, 2021).



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 separately voted to award Congressional Gold Medals to other Capitol Police, using

 the same "insurrectionists" language. 85

          82.   Recognizing January 6 as an insurrection or rebellion for purposes of

 Section Three is also consistent with the intent of the Fourteenth Amendment's

 drafters, who worried that the reelection of the pre-war political class in the South

 would re-empower those willing to use violence or otherwise reject the results when

 their preferred policies were not enacted, or their preferred candidates were not

 elected. See, e.g., 69 CONG. GLOBE, 39th Cong., 1st Sess. 2532 (1866) (statement of

 Rep. Banks) ("They do not rely on ideas for success. They govern by force. Their

 philosophy is force. Their tradition is force.") . .The idea behind Section Three was

 that politicians who took an oath to protect the Constitution and then disregarded

 the norms of peaceful and lawful political discourse could not be trusted to hold

 office-that was true then, and it remains true today.

         If Representative Cawthorn helped plan January 6 events with the
               intent to incite or aid an insurrection or rebellion or with the
               knowledge that an insurrection or rebellion was substantially
              likely, he has engaged in an insurrection within the meaning of
                        Section Three of the Fourteenth Amendment.

          83.   To "engage" in insurrection or rebellion, one must voluntarily and

 knowingly aid the insurrection by providing it with something useful or necessary.

          84.   The Disqualification Clause does not require that individuals

 personally commit acts of violence or open defiance to be considered as having




85   Pub. L. No. 117-32, 135 Stat. 322 (2021).

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"engaged" in an insurrection. 86 In the leading national case on the standard for

"engaging'' in insurrection under Section Three, the North Carolina Supreme Court

 interpreted the word "engage" to mean "[v]oluntarily aiding the rebellion, by

 personal service, or by contributions, other than charitable, of any thing that was

 useful or necessary" to it. Worthy, 63 N.C. at 203; see also United States v. Powell,

 65 N.C. 709 (C.C.D.N.C. 1871) (holding that "engage" merely required "a voluntary

 effort to assist the Insurrection ... and to bring it to a successful [from

 insurrectionists' perspective] termination").

       85.      Someone who helps plan a demonstration with the intent, knowledge,

 or reason to know that it will result in an insurrection or rebellion has voluntarily

 given their "personal service" to the insurrection by providing something

 "necessary" to the insurrection: an assembly point. Similarly, someone who does

 not plan the insurrection or rebellion itself, but plans an inciting event and knows

 that an insurrection is substantially likely to result, has also "engaged" in an

 insurrection. They have created a chaotic situation that makes it more likely for

 the insurrection to come to "a successful [on its own terms] termination," and by

 knowing that an insurrection is substantially likely, they have given that aid

 voluntarily.

       86.      Here, there is reliable reporting that Representative Cawthorn, who

 was intimately involved in the plans inside the Capitol to reject the electoral votes




86For example, Confederate President Jefferson Davis did not personally engage in
violence during the Civil War.


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 of Arizona and Pennsylvania, and spoke at the "Save America" demonstration, was

 also involved with, at minimum, the planning of events that led to the insurrection.

       87.   Supporters of the movement to prevent President-elect Biden's victory

 from being certified in Congress, with whom Representative Cawthorn continues to

 associate, made it clear beforehand that they understood the demonstration as a

 call to forcibly prevent the certification of Biden and install Trump as president for

 another four years. At no point before the demonstration did Representative

 Cawthorn insist on peaceful protest. 87 Instead, he promoted the demonstration by

 encouraging his supporters that it was "time to fight" and show their "backbone,"

 and spoke in an equally incendiary fashion during the demonstration.

       88.   Representative Cawthorn has advocated for political violence both

 before and after the insurrection. He urged his supporters to "lightly threaten"

 Members of Congress and has insisted that the necessary and justifiable outcome

 of continued "fraud" is violence.

       89.   Although he couches his language in American values, his support for

 false election fraud claims and references to bloodshed and violent confrontation

 demonstrate his public position that violence and intimidation is justified in

 response to a peaceful, orderly election if his candidate of choice loses. His

 occasional professions of denial or disdain for the foot soldiers who stormed the




87Nor are Challengers aware of any affirmative action by Cawthorn to abandon,
defeat, or disavow the insurrection-certainly not before the violence that he knew
or should have known was substantially likely.


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Capitol cannot conceal the fact that he encouraged, and upon reasonable suspicion

helped aid, the insurrection.

                                   CONCLUSION

      90.   Challengers have reasonable suspicion that Representative Cawthorn

was involved in planning efforts to intimidate Congress and the Vice President into

rejecting valid electoral votes and subvert the essential constitutional function of

an orderly and peaceful transition of power. Challengers have reasonable suspicion

that Cawthorn was involved in either planning the attack on January 6, or

alternatively the planning of the pre-attack demonstration and/or march on the

Capitol with the advance knowledge that it was substantially likely to lead to the

attack, and otherwise voluntarily aided the insurrection after taking an oath, as a

member of Congress to support the Constitution, disqualifying him from federal

office under the Disqualification Clause of Section Three of the Fourteenth

Amendment; and, therefore, that he "does not meet the constitutional ...

qualifications for the office" he seeks. N.C.   GEN.   STAT.§ 163-127.2(b).

                                REQUESTED RELIEF

WHEREFORE, the Challengers respectfully request that:

   1. The State Board of Elections immediately appoint a multi-county board to

      hear the challenge.

  2. The Challengers be authorized to depose Representative Cawthorn before the

      hearing.




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  3. The Challengers be authorized to issue subpoenas to Representative

     Cawthorn and to other persons, within and outside North Carolina, of

     documents and tangible things that may provide relevant evidence.




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